






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS





IN RE:  JOSE LUIS MONARREZ, 



Relator.
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No. 08-09-00142-CR

AN ORIGINAL PROCEEDING


IN MANDAMUS


MEMORANDUM OPINION ON PETITION FOR WRIT OF MANDAMUS


	Relator has filed a pro se petition for writ of mandamus requesting this Court to order the
Honorable David Guaderrama, Judge of the 243rd Judicial District Court, to rule on his motions
for DNA testing under Chapter 64 of the Texas Code of Criminal Procedure and for appointment
of counsel.

	In order to obtain relief through a writ of mandamus, a relator must establish:  (1) no
other adequate remedy at law is available; and (2) that the act he seeks to compel is ministerial. 
State ex rel. Young v. Sixth Judicial Dist. Court of Appeals At Texarkana, 236 S.W.3d 207, 210 
(Tex.Crim.App. 2007).  An act is ministerial if it does not involve the exercise of any discretion. 
State ex rel. Hill v. Court of Appeals for the Fifth District, 34 S.W.3d 924, 927 (Tex.Crim.App. 
2001).  Based on the petition and record provided, Mr. Monarez has not demonstrated he is
entitled to mandamus relief.  See Tex.R.App.P. 52.8.  We therefore deny Relator's request.

June 30, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


